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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt;Page 603&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;652 P.2d 603&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;The PEOPLE of the State of Colorado, Petitioner,
In the Interest of C.A.K., A Child, and Concerning K.D.K., Respondent.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;Nos. 81SC85&lt;/span&gt;, &lt;span class="ldml-cite"&gt;81SC86&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;,
En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;Oct. 18, 1982&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="217" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-val="604" data-vol="652" data-rep="P.2d" data-id="pagenumber_217" data-page_type="labeled_number"&gt;&lt;/span&gt; &lt;span data-paragraph-id="217" data-sentence-id="225" class="ldml-sentence"&gt;&lt;span class="ldml-lawfirm"&gt;Harden, Schmidt &amp; Hass&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Rick Zier&lt;/span&gt;&lt;/span&gt;, Fort Collins, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;petitioner&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="290" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="290" data-sentence-id="298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;David Bye&lt;/span&gt;&lt;/span&gt;, Fort Collins, for C.A.K. in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_298"&gt;&lt;span class="ldml-cite"&gt;No. 81SC86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="349" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="349" data-sentence-id="357" class="ldml-sentence"&gt;&lt;span class="ldml-lawfirm"&gt;Lach &amp; Elliott, P.C.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Rebecca Elliott&lt;/span&gt;&lt;/span&gt;, Fort Collins, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;respondent&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="426" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (ROVIRA)"&gt;&lt;span data-paragraph-id="426" data-sentence-id="434" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;ROVIRA&lt;/span&gt;&lt;/span&gt;, Justice.&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="451" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="451" data-sentence-id="459" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to review a decision of the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals&lt;/span&gt; which reversed a judgment of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; terminating the parental rights of K.D.K.&lt;/span&gt; &lt;span data-paragraph-id="451" data-sentence-id="625" class="ldml-sentence"&gt;See &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_625" data-refglobal="case:peopleininterestofcak,628p2d136coloapp1981"&gt;&lt;span class="ldml-refname"&gt;C.A.K.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;628 P.2d 136&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="451" data-sentence-id="693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reverse.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="I.
" data-specifier="I" data-ordinal_start="1" data-parsed="true" data-value="I." data-ordinal_end="1" data-format="upper_case_roman_numeral" data-id="heading_705" id="heading_705"&gt;&lt;span data-paragraph-id="705" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="705" data-sentence-id="705" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="708" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="708" data-sentence-id="716" class="ldml-sentence"&gt;K.D.K. is &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt; of C.A.K. who was born in &lt;span class="ldml-entity"&gt;July 1971&lt;/span&gt; when K.D.K. was fifteen years old and unmarried.&lt;/span&gt; &lt;span data-paragraph-id="708" data-sentence-id="822" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;1972 K.D.K.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; had another child who was relinquished by K.D.K. shortly after its birth.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="911" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="911" data-sentence-id="919" class="ldml-sentence"&gt;The paternity of C.A.K. has never been established.&lt;/span&gt; &lt;span data-paragraph-id="911" data-sentence-id="971" class="ldml-sentence"&gt;The alleged &lt;span class="ldml-entity"&gt;father&lt;/span&gt; has failed to enter an appearance, and his default was entered early in the proceedings.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1079" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1079" data-sentence-id="1087" class="ldml-sentence"&gt;K.D.K.'s first contact with the &lt;span class="ldml-entity"&gt;Department of Social Services&lt;/span&gt; was in &lt;span class="ldml-entity"&gt;Adams County&lt;/span&gt; in &lt;span class="ldml-entity"&gt;1972&lt;/span&gt; when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was pregnant with her second child.&lt;/span&gt; &lt;span data-paragraph-id="1079" data-sentence-id="1222" class="ldml-sentence"&gt;At that time, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; applied for Aid to Dependent Children for C.A.K. and herself.&lt;/span&gt; &lt;span data-paragraph-id="1079" data-sentence-id="1302" class="ldml-sentence"&gt;Subsequently, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; left &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; with C.A.K.&lt;/span&gt; &lt;span data-paragraph-id="1079" data-sentence-id="1347" class="ldml-sentence"&gt;Upon returning in &lt;span class="ldml-entity"&gt;1974&lt;/span&gt;, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; again applied for assistance, and C.A.K. was placed in day care as a protective service due to her physical condition.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1494" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1494" data-sentence-id="1502" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;August 1975&lt;/span&gt; K.D.K. voluntarily placed C.A.K. in foster care, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; remained with a foster family until &lt;span class="ldml-entity"&gt;December 1976&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1494" data-sentence-id="1625" class="ldml-sentence"&gt;From &lt;span class="ldml-entity"&gt;December 1976&lt;/span&gt; to &lt;span class="ldml-entity"&gt;March 1977&lt;/span&gt;, K.D.K. and C.A.K. lived with K.D.K.'s &lt;span class="ldml-entity"&gt;father&lt;/span&gt; and stepmother, but this arrangement was not satisfactory, and in &lt;span class="ldml-entity"&gt;April 1977&lt;/span&gt; C.A.K. was placed in the care of another foster family.&lt;/span&gt; &lt;span data-paragraph-id="1494" data-sentence-id="1837" class="ldml-sentence"&gt;This arrangement lasted until &lt;span class="ldml-entity"&gt;December 1977&lt;/span&gt; when K.D.K. once again made arrangements to have C.A.K. live with her.&lt;/span&gt; &lt;span data-paragraph-id="1494" data-sentence-id="1952" class="ldml-sentence"&gt;This time &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; and daughter were together
&lt;span class="ldml-pagenumber" data-val="605" data-vol="652" data-rep="P.2d" data-id="pagenumber_1997" data-page_type="labeled_number"&gt;&lt;/span&gt;
approximately six weeks.&lt;/span&gt; &lt;span data-paragraph-id="1494" data-sentence-id="2023" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;January 1978&lt;/span&gt; K.D.K. placed C.A.K. with her parents, and K.D.K. went to live with her grandfather.&lt;/span&gt; &lt;span data-paragraph-id="1494" data-sentence-id="2124" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;February 1978&lt;/span&gt; C.A.K. was once again placed with a foster family.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2192" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2192" data-sentence-id="2200" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 9, 1978&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed a Petition for Neglected or Dependent Children in which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; alleged that C.A.K. lacked proper parental care through the actions and omissions of her parent; K.D.K. failed to provide C.A.K. with proper and necessary medical care; C.A.K.'s environment was injurious to her health; and K.D.K. had allowed others to mistreat and abuse C.A.K. without taking lawful means to stop such mistreatment.&lt;/span&gt; &lt;span data-paragraph-id="2192" data-sentence-id="2635" class="ldml-sentence"&gt;The petition stated that termination of the parent-child relationship was a possible remedy if the petition was sustained.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2758" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2758" data-sentence-id="2766" class="ldml-sentence"&gt;Contemporaneously, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed a &lt;span class="ldml-quotation quote"&gt;"Motion for Temporary Custody"&lt;/span&gt; and attached to their motion a report of the &lt;span class="ldml-entity"&gt;Larimer County Department of Social Services&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(LCDSS)&lt;/span&gt; and a report of the &lt;span class="ldml-entity"&gt;Thompson School District R-2&lt;/span&gt; school psychologist.&lt;/span&gt; &lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="2758" data-sentence-id="3004" class="ldml-sentence"&gt;In support of their motion, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; alleged that the child was living in an unstable home situation, was exposed to abusive and violent conditions, and that C.A.K. had suffered serious regression in her social and academic development.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3243" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3243" data-sentence-id="3251" class="ldml-sentence"&gt;K.D.K. waived her right to a hearing as to temporary custody.&lt;/span&gt; &lt;span data-paragraph-id="3243" data-sentence-id="3313" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; ordered temporary custody of C.A.K. to be placed in the LCDSS and appointed guardians ad litem for both K.D.K. and C.A.K. and &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to represent K.D.K.&lt;/span&gt; &lt;span data-paragraph-id="3243" data-sentence-id="3477" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 14, 1978&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Motion to Terminate&lt;/span&gt; Parental Rights,"&lt;/span&gt; alleging, inter alia, that K.D.K. was an unfit parent due to brain damage which rendered her unable to give the child reasonable care; that K.D.K. had neglected the child's medical needs; and that the child's home environment was injurious.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3800" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3800" data-sentence-id="3808" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;June 1978&lt;/span&gt; a treatment plan &lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; was approved by all &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ordered both K.D.K. and C.A.K. to be examined by a psychologist or psychiatrist and C.A.K. to undergo a medical examination.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4007" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4007" data-sentence-id="4015" class="ldml-sentence"&gt;K.D.K. demanded a jury trial on the issue of whether C.A.K. was a dependent or neglected child, but on &lt;span class="ldml-entity"&gt;November 1, 1978&lt;/span&gt;, the day set for trial, K.D.K. admitted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4015"&gt;&lt;span class="ldml-cite"&gt;paragraph 5&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the petition, to-wit, that C.A.K. lacked proper parental care through the omission of her parent.&lt;/span&gt; &lt;span data-paragraph-id="4007" data-sentence-id="4291" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt; for K.D.K. stipulated that the reports in &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s file could be considered as the factual basis for &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4291"&gt;&lt;span class="ldml-cite"&gt;paragraph 5&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; sustained the petition.&lt;/span&gt; &lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="4458" class="ldml-paragraph "&gt;&lt;span class="ldml-pagenumber" data-val="606" data-vol="652" data-rep="P.2d" data-id="pagenumber_4458" data-page_type="labeled_number"&gt;&lt;/span&gt; &lt;span data-paragraph-id="4458" data-sentence-id="4466" class="ldml-sentence"&gt;A placement hearing was then conducted to determine whether C.A.K. should remain in the home of the foster parents with whom &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had been living since &lt;span class="ldml-entity"&gt;February 1978&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4458" data-sentence-id="4632" class="ldml-sentence"&gt;These parents were, due to the husband's employment, being transferred to Oregon.&lt;/span&gt; &lt;span data-paragraph-id="4458" data-sentence-id="4714" class="ldml-sentence"&gt;K.D.K. objected to the child's leaving &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;, and substantial testimony was heard concerning the appropriate placement of C.A.K.&lt;/span&gt; &lt;span data-paragraph-id="4458" data-sentence-id="4847" class="ldml-sentence"&gt;All &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; stipulated that the testimony presented at the placement hearing could be considered by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; at any future hearing regarding termination of parental rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5021" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5021" data-sentence-id="5029" class="ldml-sentence"&gt;In its extensive findings of fact, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; stated that prior to placement with the foster parents C.A.K.'s physical and mental condition had deteriorated to a critical state due to the omissions of K.D.K.; subsequent to her placement with the foster parents, there was a dramatic improvement in C.A.K.'s physical and mental condition; and although K.D.K. expressed her love for C.A.K. and wanted the child to live with her, allowing C.A.K. to be in the custody of her &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; would not be in the best interests of the child.&lt;/span&gt; &lt;span data-paragraph-id="5021" data-sentence-id="5564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; ordered that C.A.K. be allowed to move to Oregon with her foster parents and requested that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; propose a plan of visitation for &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s consideration.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5738" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5738" data-sentence-id="5746" class="ldml-sentence"&gt;A short time later, a second treatment plan was developed with participation of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for C.A.K., K.D.K., and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5738" data-sentence-id="5870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; stipulated to its approval by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5923" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5923" data-sentence-id="5931" class="ldml-sentence"&gt;The treatment plan recognized that it was in the best interest of C.A.K. and in furtherance of the goal of reconciliation of the child with K.D.K. that K.D.K. comply with the plan.&lt;/span&gt; &lt;span data-paragraph-id="5923" data-sentence-id="6112" class="ldml-sentence"&gt;The plan required K.D.K. to write two letters per month to her daughter and contact her caseworker upon the completion of the letters so that K.D.K. would keep in touch with both her daughter and the &lt;span class="ldml-entity"&gt;Department of Social Services&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5923" data-sentence-id="6343" class="ldml-sentence"&gt;Further, K.D.K. would be responsible for picking up and returning C.A.K. on her visits, and representatives of the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Clinic&lt;/span&gt; would observe both C.A.K. and K.D.K. during these visits.&lt;/span&gt; &lt;span data-paragraph-id="5923" data-sentence-id="6552" class="ldml-sentence"&gt;The plan required K.D.K. to be responsible for her own health care and that of C.A.K. when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was in her care; to attend counseling sessions at the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Clinic&lt;/span&gt;; and to establish, along with her present husband, the ability to provide for basic minimal needs of a three-person family.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6863" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6863" data-sentence-id="6871" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;June 1979&lt;/span&gt; a hearing was held to determine whether the child-parent relationship between C.A.K. and K.D.K. should be terminated.&lt;/span&gt; &lt;span data-paragraph-id="6863" data-sentence-id="7002" class="ldml-sentence"&gt;At this hearing, pursuant to stipulation, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; considered testimony given at the &lt;span class="ldml-entity"&gt;November 1978&lt;/span&gt; placement hearing.&lt;/span&gt; &lt;span data-paragraph-id="6863" data-sentence-id="7121" class="ldml-sentence"&gt;There was conflicting testimony as to whether K.D.K. successfully completed the treatment plan and whether her mental condition had improved sufficiently to allow her to care for C.A.K. properly.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7317" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7317" data-sentence-id="7325" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; concluded that the treatment plan had not been successful, that K.D.K.'s condition was unlikely to change within a reasonable time, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was an unfit parent.&lt;/span&gt; &lt;span data-paragraph-id="7317" data-sentence-id="7507" class="ldml-sentence"&gt;Consequently, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ordered her parental rights terminated.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7571" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7571" data-sentence-id="7579" class="ldml-sentence"&gt;K.D.K. filed a &lt;span class="ldml-entity"&gt;motion to amend judgment&lt;/span&gt; or for a &lt;span class="ldml-entity"&gt;new trial&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7571" data-sentence-id="7639" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; alleged there was insufficient evidence to support &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s findings of fact and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; erred in applying &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;sections 19-1-102, 19-3-111, 19-11-103, and 19-11-105, C.R.S.1973 &lt;span class="ldml-parenthetical"&gt;(1978 Repl.Vol. 8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7571" data-sentence-id="7841" class="ldml-sentence"&gt;The motion was denied.&lt;/span&gt; &lt;span data-paragraph-id="7571" data-sentence-id="7864" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; reversed, holding that the treatment plan was insufficient because it did not specify what the relevant criteria would be to determine success and the evidence did not support &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s determination that K.D.K.'s mental deficiency was of such duration and nature as to render her unlikely within a reasonable time to provide reasonable care for C.A.K.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="II.
" data-specifier="II" data-ordinal_start="2" data-parsed="true" data-value="II." data-ordinal_end="2" data-format="upper_case_roman_numeral" data-id="heading_8246" id="heading_8246"&gt;&lt;span data-paragraph-id="8246" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8246" data-sentence-id="8246" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8250" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8250" data-sentence-id="8258" class="ldml-sentence"&gt;In her &lt;span class="ldml-entity"&gt;motion for new trial&lt;/span&gt;, K.D.K. did not raise the issue of whether the termination of her parental rights under a preponderance of the evidence standard violated due process of law.&lt;/span&gt; &lt;span data-paragraph-id="8250" data-sentence-id="8444" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; elect to address the issue because of its constitutional significance.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="607" data-vol="652" data-rep="P.2d" data-id="pagenumber_8527" data-page_type="labeled_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8527" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8527" data-sentence-id="8535" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8535" data-refglobal="case:peopleininterestofamd,648p2d625,631colo1982percuriam"&gt;&lt;span class="ldml-refname"&gt;A.M.D.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;648 P.2d 625&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that the preponderance of the evidence standard violates due process of law and, consistent with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8535" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982"&gt;&lt;span class="ldml-refname"&gt;Santosky v. Kramer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 U.S. 745&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 S.Ct. 1388&lt;/span&gt;, &lt;span class="ldml-cite"&gt;71 L.Ed.2d 599&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, clear and convincing evidence is the appropriate constitutional standard in proceedings involving termination of a parent-child relationship.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8918" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8918" data-sentence-id="8926" class="ldml-sentence"&gt;The question left unanswered in &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8926" data-refglobal="case:peopleininterestofamd,648p2d625,631colo1982percuriam"&gt;&lt;span class="ldml-refname"&gt;A.M.D.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is whether the rule should be made retrospective, or whether its effect should be prospective only.&lt;/span&gt; &lt;span data-paragraph-id="8918" data-sentence-id="9099" class="ldml-sentence"&gt;Of course, the rule will be neither purely prospective nor completely retrospective.&lt;/span&gt; &lt;span data-paragraph-id="8918" data-sentence-id="9184" class="ldml-sentence"&gt;A purely prospective rule does not apply even to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; where the rule was announced.&lt;/span&gt; &lt;span data-paragraph-id="8918" data-sentence-id="9287" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890921740" data-vids="890921740" class="ldml-reference" data-prop-ids="sentence_9184"&gt;&lt;span class="ldml-refname"&gt;England v. Louisiana State Board of Medical Examiners&lt;/span&gt;, &lt;span class="ldml-cite"&gt;375 U.S. 411&lt;/span&gt;, &lt;span class="ldml-cite"&gt;84 S.Ct. 461&lt;/span&gt;, &lt;span class="ldml-cite"&gt;11 L.Ed.2d 440&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8918" data-sentence-id="9397" class="ldml-sentence"&gt;On the other hand, a completely retrospective application would govern even &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt; where termination proceedings are final and appellate review is either completed or barred.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9577" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9577" data-sentence-id="9585" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9585"&gt;&lt;span class="ldml-cite"&gt;United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; neither requires nor prohibits retrospectivity, so each state may determine the issue for itself, absent a specific mandate to the contrary.&lt;/span&gt; &lt;span data-paragraph-id="9577" data-sentence-id="9757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9585" data-refglobal="case:linklettervwalker1965,381us618,85sct1731,14led2d60133oo2d118"&gt;&lt;span class="ldml-refname"&gt;Linkletter v. Walker&lt;/span&gt;, &lt;span class="ldml-cite"&gt;381 U.S. 618&lt;/span&gt;, &lt;span class="ldml-cite"&gt;85 S.Ct. 1731&lt;/span&gt;, &lt;span class="ldml-cite"&gt;14 L.Ed.2d 601&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1965&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9577" data-sentence-id="9831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are not, however, without guidance on the issue.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9883" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9883" data-sentence-id="9891" class="ldml-sentence"&gt;A proceeding terminating parental rights is a civil one, and the standard for retroactive application of decisions in civil &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; was set out by the &lt;span class="ldml-entity"&gt;United States Supreme Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889190574" data-vids="889190574" class="ldml-reference" data-prop-ids="sentence_9891"&gt;&lt;span class="ldml-refname"&gt;Chevron Oil Co. v. Huson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;404 U.S. 97&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 S.Ct. 349&lt;/span&gt;, &lt;span class="ldml-cite"&gt;30 L.Ed.2d 296&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1971&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9883" data-sentence-id="10147" class="ldml-sentence"&gt;First, the decision, if it is not to be applied retroactively, must establish a new rule of law.&lt;/span&gt; &lt;span data-paragraph-id="9883" data-sentence-id="10244" class="ldml-sentence"&gt;Second, the merits of each case must be weighed by looking to the purpose and effect of the rule in question and whether retrospective operation will further or retard its operation.&lt;/span&gt; &lt;span data-paragraph-id="9883" data-sentence-id="10427" class="ldml-sentence"&gt;Third, the inequity imposed by retroactive application must be weighed to avoid injustice or hardship.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10530" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10530" data-sentence-id="10538" class="ldml-sentence"&gt;As to the first factor, clearly a new rule of law was established, for prior to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10538" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982"&gt;&lt;span class="ldml-refname"&gt;Santosky&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the preponderance of the evidence standard had been applied in termination proceedings.&lt;/span&gt; &lt;span data-paragraph-id="10530" data-sentence-id="10723" class="ldml-sentence"&gt;See &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10723" data-refglobal="case:peopleininterestofbjd,626p2d727,730coloapp1981"&gt;&lt;span class="ldml-refname"&gt;B.J.D.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;626 P.2d 727&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10791" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10791" data-sentence-id="10799" class="ldml-sentence"&gt;The factor from &lt;span class="ldml-entity"&gt;Chevron Oil Co.&lt;/span&gt; that argues most strongly for retroactivity is the second--the purpose and effect of the clear and convincing standard.&lt;/span&gt; &lt;span data-paragraph-id="10791" data-sentence-id="10951" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; observed in &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the interest of A.M.D., &lt;span class="ldml-quotation quote"&gt;"the standard of proof directly influences the basic reliability of the factfinding decision concerning termination and clearly affects the substantial rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to the termination decree."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10791" data-sentence-id="11205" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10951" data-refglobal="case:peopleininterestofamd,648p2d625,631colo1982percuriam"&gt;&lt;span class="ldml-cite"&gt;648 P.2d at 631&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11222" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11222" data-sentence-id="11230" class="ldml-sentence"&gt;On the other side of the balance is the third factor--the inequity and hardship imposed by retroactive application of our decision.&lt;/span&gt; &lt;span data-paragraph-id="11222" data-sentence-id="11362" class="ldml-sentence"&gt;The interests to be protected in a termination of parental rights case include the interests of the parent and child in a continuing family relationship; the interests of the parent in preserving the integrity and privacy of the family unit; the interest of the child in a permanent, secure, stable, and loving environment; and the interests of &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; in protecting the child.&lt;/span&gt; &lt;span data-paragraph-id="11222" data-sentence-id="11745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11362" data-refglobal="case:departmentofsocialservicesvronaldp,28cal3d908,623p2d198,171calrptr6371981"&gt;&lt;span class="ldml-refname"&gt;Department of Social Services v. Ronald P.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;28 Cal.3d 908&lt;/span&gt;, &lt;span class="ldml-cite"&gt;623 P.2d 198&lt;/span&gt;, &lt;span class="ldml-cite"&gt;171 Cal.Rptr. 637&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11222" data-sentence-id="11844" class="ldml-sentence"&gt;By the time a termination proceeding has wound its way through appellate proceedings, no one benefits from a retrial of the facts that served as a basis for the termination.&lt;/span&gt; &lt;span data-paragraph-id="11222" data-sentence-id="12018" class="ldml-sentence"&gt;In the context of a parental termination proceeding, finality of decision outweighs retroactive application of a new standard of proof.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12154" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12154" data-sentence-id="12162" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are not unmindful of the fact that a parental termination proceeding is not an ordinary civil proceeding.&lt;/span&gt; &lt;span data-paragraph-id="12154" data-sentence-id="12271" class="ldml-sentence"&gt;Indeed, that fact is the basis for our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;People&lt;/span&gt;&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12271" data-refglobal="case:peopleininterestofamd,648p2d625,631colo1982percuriam"&gt;&lt;span class="ldml-refname"&gt;A.M.D.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12154" data-sentence-id="12363" class="ldml-sentence"&gt;The elevated standard of proof is evidence of the importance &lt;span class="ldml-entity"&gt;we&lt;/span&gt; attach to the truth-finding process.&lt;/span&gt; &lt;span data-paragraph-id="12154" data-sentence-id="12464" class="ldml-sentence"&gt;That &lt;span class="ldml-entity"&gt;we&lt;/span&gt; opt for nonretroactivity in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is not to disparage the value &lt;span class="ldml-entity"&gt;we&lt;/span&gt; attach to the constitutional guarantee.&lt;/span&gt; &lt;span data-paragraph-id="12154" data-sentence-id="12583" class="ldml-sentence"&gt;Rather, it is to recognize the burdens that would be imposed by retroactivity.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="608" data-vol="652" data-rep="P.2d" data-id="pagenumber_12662" data-page_type="labeled_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12662" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12662" data-sentence-id="12670" class="ldml-sentence"&gt;Even in the criminal context, decisions creating new rights that affect the truth-finding process are not automatically applied retroactively.&lt;/span&gt; &lt;span data-paragraph-id="12662" data-sentence-id="12813" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12813" data-refglobal="case:johnsonvstateofnewjersey,supra384us719,86sct1772,16led2d882,at728--729,86sctat1778"&gt;&lt;span class="ldml-refname"&gt;Johnson v. New Jersey&lt;/span&gt;, &lt;span class="ldml-cite"&gt;384 U.S. 719&lt;/span&gt;, &lt;span class="ldml-cite"&gt;86 S.Ct. 1772&lt;/span&gt;, &lt;span class="ldml-cite"&gt;16 L.Ed.2d 882&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1966&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which dealt with the question of retroactivity of &lt;span class="ldml-entity"&gt;the decisions in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894645642" data-vids="894645642" class="ldml-reference" data-prop-ids="sentence_12813"&gt;&lt;span class="ldml-refname"&gt;Escobedo v. Illinois&lt;/span&gt;, &lt;span class="ldml-cite"&gt;378 U.S. 478&lt;/span&gt;, &lt;span class="ldml-cite"&gt;84 S.Ct. 1758&lt;/span&gt;, &lt;span class="ldml-cite"&gt;12 L.Ed.2d 977&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890427269" data-vids="890427269" class="ldml-reference" data-prop-ids="sentence_12813"&gt;&lt;span class="ldml-refname"&gt;Miranda v. Arizona&lt;/span&gt;, &lt;span class="ldml-cite"&gt;384 U.S. 436&lt;/span&gt;, &lt;span class="ldml-cite"&gt;86 S.Ct. 1602&lt;/span&gt;, &lt;span class="ldml-cite"&gt;16 L.Ed.2d 694&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1966&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; observed:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13150" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13150" data-sentence-id="13150" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he question whether a constitutional rule of criminal procedure does or does not enhance the reliability of the fact-finding process at trial is necessarily a matter of degree....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are thus concerned with a question of probabilities and must take account, among other factors, of the extent to which other safeguards are available to protect the integrity of the truth-determining process at trial."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13556" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13556" data-sentence-id="13564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:johnsonvstateofnewjersey,supra384us719,86sct1772,16led2d882,at728--729,86sctat1778"&gt;&lt;span class="ldml-cite"&gt;384 U.S. at 728-29&lt;/span&gt;, &lt;span class="ldml-cite"&gt;86 S.Ct. at 1778-1779&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13607" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13607" data-sentence-id="13615" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; also observed in a slightly different context:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13672" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13672" data-sentence-id="13672" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Despite the fact that procedures are related to the integrity of the fact-finding process in the context of &lt;span class="ldml-parenthetical"&gt;[prison]&lt;/span&gt; disciplinary proceedings, where less is generally at stake for an individual than at a criminal trial, great weight should be given to the significant impact a retroactivity ruling would have on the administration of all prisons in the country, and the reliance prison officials placed, in good faith, on prior law not requiring such procedures."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14137" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14137" data-sentence-id="14145" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890576371" data-vids="890576371" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Wolff v. McDonnell&lt;/span&gt;, &lt;span class="ldml-cite"&gt;418 U.S. 539, 573-74&lt;/span&gt;, &lt;span class="ldml-cite"&gt;94 S.Ct. 2963, 2983&lt;/span&gt;, &lt;span class="ldml-cite"&gt;41 L.Ed.2d 935&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14231" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14231" data-sentence-id="14239" class="ldml-sentence"&gt;One commentator on the &lt;span class="ldml-quotation quote"&gt;"retrospectivity-prospectivity"&lt;/span&gt; issue has pointed out that there are two justifications for a denial of retroactive effect.&lt;/span&gt; &lt;span data-paragraph-id="14231" data-sentence-id="14386" class="ldml-sentence"&gt;The first is the protection of persons who have relied on the earlier state of the law; the second is the protection of stability in areas where society attaches particular importance to stability.&lt;/span&gt; &lt;span data-paragraph-id="14231" data-sentence-id="14585" class="ldml-sentence"&gt;Currier, Time and Change in Judge-made Law: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Prospective Overruling&lt;/span&gt;, &lt;span class="ldml-cite"&gt;51 Va.L.Rev. 201&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1965&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14679" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14679" data-sentence-id="14687" class="ldml-sentence"&gt;The reliance factor is more persuasive when the change in the law at issue concerns pre-litigation conduct that becomes the subject of later litigation, because most acts, once done, cannot be undone.&lt;/span&gt; &lt;span data-paragraph-id="14679" data-sentence-id="14888" class="ldml-sentence"&gt;Consequently, it would often be inequitable to subject conduct to a standard that did not obtain when the conduct was engaged in.&lt;/span&gt; &lt;span data-paragraph-id="14679" data-sentence-id="15018" class="ldml-sentence"&gt;Here, the conduct that is governed by the change in the law can be undone.&lt;/span&gt; &lt;span data-paragraph-id="14679" data-sentence-id="15093" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The case&lt;/span&gt; could be remanded for a new trial, and &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; would then begin again at square one.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15191" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15191" data-sentence-id="15199" class="ldml-sentence"&gt;It is the stability factor that more strongly mandates prospectivity here.&lt;/span&gt; &lt;span data-paragraph-id="15191" data-sentence-id="15274" class="ldml-sentence"&gt;By the time a termination proceeding reaches trial, the child has usually been subjected to a great deal of emotional trauma.&lt;/span&gt; &lt;span data-paragraph-id="15191" data-sentence-id="15400" class="ldml-sentence"&gt;As discussed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15400"&gt;&lt;span class="ldml-cite"&gt;Part I&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, C.A.K. has lived in numerous homes in her short life, and her family life has been uncertain at best.&lt;/span&gt; &lt;span data-paragraph-id="15191" data-sentence-id="15542" class="ldml-sentence"&gt;In such &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;, there is much to be said for finality of decision so that the child can get about the business of growing up in her new home.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15684" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15684" data-sentence-id="15692" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;Roger Traynor&lt;/span&gt;&lt;/span&gt; has observed that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he conviction that a new judicial rule is more just than an old one is still likely to carry the topheavy inference that such a rule achieves maximum justice by retroactive application."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15684" data-sentence-id="15923" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15692"&gt;&lt;span class="ldml-refname"&gt;Traynor, Quo Vadis, Prospective Overruling: A Question of Judicial Responsibility, 28 Hastings&lt;/span&gt; &lt;span class="ldml-cite"&gt;L.J. 533, 535&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15684" data-sentence-id="16041" class="ldml-sentence"&gt;An analysis of &lt;span class="ldml-entity"&gt;the reasoning in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16041" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982"&gt;&lt;span class="ldml-refname"&gt;Santosky&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, shows that the considerations militating in favor of a change in the law do not necessarily militate in favor of retroactivity, and that maximum justice may be achieved by a nonretroactive application.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16292" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16292" data-sentence-id="16300" class="ldml-sentence"&gt;In concluding that the clear-and-convincing evidence standard is constitutionally required, &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16300" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982"&gt;&lt;span class="ldml-refname"&gt;Santosky&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; balanced the three factors set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892578148" data-vids="892578148" class="ldml-reference" data-prop-ids="sentence_16300"&gt;&lt;span class="ldml-refname"&gt;Mathews v. Eldridge&lt;/span&gt;, &lt;span class="ldml-cite"&gt;424 U.S. 319&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 893&lt;/span&gt;, &lt;span class="ldml-cite"&gt;47 L.Ed.2d 18&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for analyzing due process issues.&lt;/span&gt; &lt;span data-paragraph-id="16292" data-sentence-id="16556" class="ldml-sentence"&gt;These factors are the private interests affected by the proceeding, the risk of error created by &lt;span class="ldml-entity"&gt;the State&lt;/span&gt;'s chosen procedure, and the countervailing governmental interest supporting use of the challenged procedure.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="609" data-vol="652" data-rep="P.2d" data-id="pagenumber_16772" data-page_type="labeled_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16772" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16772" data-sentence-id="16780" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16780" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982"&gt;&lt;span class="ldml-refname"&gt;Santosky&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; found that the first factor--the private interest affected--weighed heavily against the use of the preponderance standard.&lt;/span&gt; &lt;span data-paragraph-id="16772" data-sentence-id="16922" class="ldml-sentence"&gt;However, the interest of the child is not affected as substantially by a rule, declared in advance, that the higher evidentiary standard be used, as it would be by a requirement that the child endure a second trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17138" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17138" data-sentence-id="17146" class="ldml-sentence"&gt;As to the second factor--the risk of error--the &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; found that the risk of erroneous fact-finding was not properly allocated by the preponderance standard.&lt;/span&gt; &lt;span data-paragraph-id="17138" data-sentence-id="17304" class="ldml-sentence"&gt;The weight of this factor does not change in the retrospectivity analysis.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17379" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17379" data-sentence-id="17387" class="ldml-sentence"&gt;As to the third factor--the countervailing government interest--the &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; found that an elevated standard of proof would not create any real administrative burden for &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17379" data-sentence-id="17565" class="ldml-sentence"&gt;While this is true when considered prospectively, when considered retrospectively, the requirement of two trials instead of one does place an administrative burden on &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17379" data-sentence-id="17743" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; has a parens patriae interest in the welfare of the child that may be impaired by subjecting the child to a second trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17885" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17885" data-sentence-id="17893" class="ldml-sentence"&gt;As a consequence of the reevaluation of the Eldridge factors with the retrospectivity question in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; believe that justice would not be served by a retroactive application of Santosky and &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of A.M.D.&lt;/span&gt; &lt;span data-paragraph-id="17885" data-sentence-id="18119" class="ldml-sentence"&gt;As a result, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will apply the new rule only to termination hearings which commenced after &lt;span class="ldml-entity"&gt;March 24, 1982&lt;/span&gt;, the date of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18119" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982"&gt;&lt;span class="ldml-refname"&gt;Santosky&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; decision&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="III.
" data-specifier="III" data-ordinal_start="3" data-parsed="true" data-value="III." data-ordinal_end="3" data-format="upper_case_roman_numeral" data-id="heading_18261" id="heading_18261"&gt;&lt;span data-paragraph-id="18261" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18261" data-sentence-id="18261" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="18266" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18266" data-sentence-id="18274" class="ldml-sentence"&gt;In setting aside the decree terminating the parent-child relationship, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; held that &lt;span class="ldml-quotation quote"&gt;"if &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; intends the successful completion of a treatment plan as a condition for the return of a child, then the treatment plan must specify what the relevant criteria will be to determine success."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18266" data-sentence-id="18585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18585" data-refglobal="case:peopleininterestofcak,628p2d136coloapp1981"&gt;&lt;span class="ldml-refname"&gt;C.A.K.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;628 P.2d at 140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18636" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18636" data-sentence-id="18644" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 19-11-105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.1973 &lt;span class="ldml-parenthetical"&gt;(1978 Repl.Vol. 8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, of the Children's Code provides in pertinent part:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18748" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18748" data-sentence-id="18756" class="ldml-sentence"&gt;"Criteria for termination.&lt;/span&gt; &lt;span data-paragraph-id="18748" data-sentence-id="18783" class="ldml-sentence"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; may order a termination of the parent-child legal relationship upon the finding of either of the following:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18905" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18905" data-sentence-id="18913" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; That the child has been abandoned by his parent or parents as set forth in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18913"&gt;&lt;span class="ldml-cite"&gt;section 19-3-111&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19013" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19021" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; That the child is adjudicated dependent or neglected and all of the following exist:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19110" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19110" data-sentence-id="19118" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt; That an appropriate treatment plan approved by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; has not been reasonably complied with by the parent or parents or has not been successful;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19270" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19270" data-sentence-id="19278" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19270" data-sentence-id="19283" class="ldml-sentence"&gt;That the parent is unfit;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19309" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19309" data-sentence-id="19317" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19309" data-sentence-id="19323" class="ldml-sentence"&gt;That the conduct or condition of the parent or parents is unlikely to change within a reasonable time."&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19427" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19427" data-sentence-id="19435" class="ldml-sentence"&gt;Here the parent-child relationship was terminated pursuant to &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19435"&gt;&lt;span class="ldml-cite"&gt;section 105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; therefore, successful completion of a treatment plan was mandated by &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19595" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19595" data-sentence-id="19603" class="ldml-sentence"&gt;The second treatment plan approved by &lt;span class="ldml-entity"&gt;the court in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; provided as follows:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19685" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19685" data-sentence-id="19685" class="ldml-sentence"&gt;"1.&lt;/span&gt; &lt;span data-paragraph-id="19685" data-sentence-id="19689" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[K.D.K.]&lt;/span&gt; will write two letters per month to her daughter, one by the 15th of the month and the other by the 30th of the month.&lt;/span&gt; &lt;span data-paragraph-id="19685" data-sentence-id="19817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; will contact her caseworker upon the completion of the letter, at which time her caseworker will visit &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; and mail the letter.&lt;/span&gt; &lt;span data-paragraph-id="19685" data-sentence-id="19960" class="ldml-sentence"&gt;In this way, &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; will be in touch with both her daughter and Social Services on a bi-monthly basis.&lt;/span&gt; &lt;span data-paragraph-id="19685" data-sentence-id="20071" class="ldml-sentence"&gt;This is to continue for a period of five months.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20120" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20120" data-sentence-id="20120" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="20120" data-sentence-id="20123" class="ldml-sentence"&gt;The &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;respondent&lt;/span&gt;]&lt;/span&gt; will be responsible for picking up the child and returning her on time for the visits that shall be arranged through &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; in the Spring of &lt;span class="ldml-entity"&gt;1979&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20290" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20290" data-sentence-id="20290" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="20290" data-sentence-id="20293" class="ldml-sentence"&gt;During each of &lt;span class="ldml-parenthetical"&gt;[the child's]&lt;/span&gt; visits home, a member of the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Clinic&lt;/span&gt; will observe the interactions between &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; and her husband]&lt;/span&gt; and between &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt; and her &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, the latter for purposes of evaluating &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt;/child attachment and parenting skills.&lt;/span&gt; &lt;span data-paragraph-id="20290" data-sentence-id="20586" class="ldml-sentence"&gt;This person will make appropriate recommendations as to parenting skills, and will provide a letter to &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; concerning all observations.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="610" data-vol="652" data-rep="P.2d" data-id="pagenumber_20728" data-page_type="labeled_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20728" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="20728" data-sentence-id="20729" class="ldml-sentence"&gt;In the event that this person determines that &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; and her husband should participate in marital counselling and recommends same, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; shall participate on a regular basis with marital counselling or parental skills counselling as recommended.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20983" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20983" data-sentence-id="20983" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-paragraph-id="20983" data-sentence-id="20986" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt;]&lt;/span&gt; will take responsibility for her own health by consulting a physician and maintaining any advised schedule of taking medication for a period of five months.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21160" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21160" data-sentence-id="21160" class="ldml-sentence"&gt;5.&lt;/span&gt; &lt;span data-paragraph-id="21160" data-sentence-id="21163" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt;]&lt;/span&gt; is responsible for obtaining a pediatrician for &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt; providing him with &lt;span class="ldml-parenthetical"&gt;[the child's]&lt;/span&gt; medical records, and for responding in an appropriate way to any medical problems which may arise when &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt; is in her care.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21404" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21404" data-sentence-id="21404" class="ldml-sentence"&gt;6.&lt;/span&gt; &lt;span data-paragraph-id="21404" data-sentence-id="21407" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt;]&lt;/span&gt; will maintain the personal hygiene of &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt; when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; is visiting.&lt;/span&gt; &lt;span data-paragraph-id="21404" data-sentence-id="21496" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; will bathe her daily and return her in the same condition &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was in at the start of the visit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21596" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21596" data-sentence-id="21596" class="ldml-sentence"&gt;7.&lt;/span&gt; &lt;span data-paragraph-id="21596" data-sentence-id="21599" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt;]&lt;/span&gt; will attend counselling sessions at the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Clinic&lt;/span&gt; on a bi-monthly basis.&lt;/span&gt; &lt;span data-paragraph-id="21596" data-sentence-id="21715" class="ldml-sentence"&gt;The emphasis of the therapy will be on self-sufficiency and parenting for a period of five months.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21814" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21814" data-sentence-id="21814" class="ldml-sentence"&gt;8.&lt;/span&gt; &lt;span data-paragraph-id="21814" data-sentence-id="21817" class="ldml-sentence"&gt;Due to previously suspected abuse of &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt; by her grandfather, ... &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; and her husband]&lt;/span&gt; will not allow the grandfather to see &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt; while &lt;span class="ldml-entity"&gt;she&lt;/span&gt; is visiting with them, unless &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt;]&lt;/span&gt; is present.&lt;/span&gt; &lt;span data-paragraph-id="21814" data-sentence-id="22042" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The grandfather]&lt;/span&gt; may call the caseworker and arrange a supervised visit through the &lt;span class="ldml-entity"&gt;Department of Social Services&lt;/span&gt; if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wishes to see &lt;span class="ldml-parenthetical"&gt;[the child]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22190" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22190" data-sentence-id="22190" class="ldml-sentence"&gt;9.&lt;/span&gt; &lt;span data-paragraph-id="22190" data-sentence-id="22193" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; and her husband]&lt;/span&gt; will show financial stability at the next &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; hearing by complying with the following:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22315" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22315" data-sentence-id="22315" class="ldml-sentence"&gt;a. Each will maintain consistent adequate income.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22366" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22366" data-sentence-id="22366" class="ldml-sentence"&gt;b.&lt;/span&gt; &lt;span data-paragraph-id="22366" data-sentence-id="22369" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[The &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; and her husband]&lt;/span&gt; will show to &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; proof that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can pay the basic minimal expenses of a three person family: rent, utilities, food, medical expenses, and transportation, if the latter is needed for employment.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22604" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22604" data-sentence-id="22604" class="ldml-sentence"&gt;10.&lt;/span&gt; &lt;span data-paragraph-id="22604" data-sentence-id="22608" class="ldml-sentence"&gt;The &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; and her husband]&lt;/span&gt; will find and maintain adequate housing by &lt;span class="ldml-parenthetical"&gt;[the child's]&lt;/span&gt; March visit.&lt;/span&gt; &lt;span data-paragraph-id="22604" data-sentence-id="22711" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Adequate"&lt;/span&gt; means a bedroom for &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; and her husband]&lt;/span&gt; and one for any person who lives in the home for an appreciable length of time.&lt;/span&gt; &lt;span data-paragraph-id="22604" data-sentence-id="22855" class="ldml-sentence"&gt;The dwelling will have adequate heating and plumbing."&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22910" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22910" data-sentence-id="22918" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; found that although reasonably complied with, the treatment plan was not successful.&lt;/span&gt; &lt;span data-paragraph-id="22910" data-sentence-id="23019" class="ldml-sentence"&gt;Further, it found that K.D.K. was unfit to be a parent because her mental deficiency was of such duration and nature as to render her incapable within a reasonable time of caring for the physical, mental, and emotional needs of the child.&lt;/span&gt; &lt;span data-paragraph-id="22910" data-sentence-id="23258" class="ldml-sentence"&gt;It also noted that reasonable efforts were made by child-caring agencies to rehabilitate K.D.K. but were to no avail.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23376" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23376" data-sentence-id="23384" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; indicated, the treatment plan did not expressly provide a standard by which success was to be measured.&lt;/span&gt; &lt;span data-paragraph-id="23376" data-sentence-id="23512" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not believe that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 19-11-105, C.R.S.1973 &lt;span class="ldml-parenthetical"&gt;(1978 Repl.Vol. 8 and 1981 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, requires an express statement of such standards.&lt;/span&gt; &lt;span data-paragraph-id="23376" data-sentence-id="23658" class="ldml-sentence"&gt;Rather, the success or failure of the treatment plan must be viewed with an eye toward the purpose of the plan; the goals of the Children's Code; and the standards expressed in the code relating to the parent's fitness, conduct, and condition.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23904" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23904" data-sentence-id="23912" class="ldml-sentence"&gt;The purpose of a treatment plan is to attempt to help the parent overcome those difficulties which led to a finding that the child was neglected or dependent.&lt;/span&gt; &lt;span data-paragraph-id="23904" data-sentence-id="24071" class="ldml-sentence"&gt;See &lt;span class="ldml-entity"&gt;People&lt;/span&gt; in the Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24071" data-refglobal="case:peopleininterestofbjd,626p2d727,730coloapp1981"&gt;&lt;span class="ldml-refname"&gt;B.J.D.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;626 P.2d 727&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23904" data-sentence-id="24139" class="ldml-sentence"&gt;It represents an affirmative attempt by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; to preserve the parent-child relationship whenever possible.&lt;/span&gt; &lt;span data-paragraph-id="23904" data-sentence-id="24250" class="ldml-sentence"&gt;This goal is expressed throughout the Children's Code.&lt;/span&gt; &lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="24306" class="ldml-paragraph "&gt;&lt;span class="ldml-pagenumber" data-val="611" data-vol="652" data-rep="P.2d" data-id="pagenumber_24306" data-page_type="labeled_number"&gt;&lt;/span&gt; &lt;span data-paragraph-id="24306" data-sentence-id="24314" class="ldml-sentence"&gt;Further, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24314"&gt;&lt;span class="ldml-cite"&gt;section 19-11-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which expressly addresses the termination of parental rights, contains criteria to be considered by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; in making the necessary determinations under the provision.&lt;/span&gt; &lt;span data-paragraph-id="24306" data-sentence-id="24512" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24512"&gt;&lt;span class="ldml-cite"&gt;Subsections 105&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &amp; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provide:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24546" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24546" data-sentence-id="24554" class="ldml-sentence"&gt;"&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt; In determining unfitness, conduct, or condition, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall find that continuation of the legal relationship between parent and child is likely to result in grave risk of death or serious injury to the child or that the conduct or condition of the parent or parents renders the parent or parents unable or unwilling to give the child reasonable parental care.&lt;/span&gt; &lt;span data-paragraph-id="24546" data-sentence-id="24924" class="ldml-sentence"&gt;In making such determinations, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall consider, but not be limited to, the following:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25019" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25019" data-sentence-id="25027" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; Emotional illness, mental illness, or mental deficiency of the parent of such duration or nature as to render the parent unlikely within a reasonable time to care for the ongoing physical, mental, and emotional needs of the child;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25262" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25262" data-sentence-id="25270" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; Conduct towards the child of a physically or sexually abusive nature;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25344" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25344" data-sentence-id="25352" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; History of violent behavior;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25385" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25385" data-sentence-id="25393" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; A single incident of life-threatening or gravely disabling injury or disfigurement of the child;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25494" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25494" data-sentence-id="25502" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt; Excessive use of intoxicating liquors or narcotic or dangerous drugs, which affect the ability to care and provide for the child;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25636" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25636" data-sentence-id="25644" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(f)&lt;/span&gt; Neglect of the child;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25670" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25670" data-sentence-id="25678" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt; Long-term confinement of the parent;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25719" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25719" data-sentence-id="25727" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(h)&lt;/span&gt; Injury or death of a sibling due to proven parental abuse or neglect;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25801" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25801" data-sentence-id="25809" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(i)&lt;/span&gt; Reasonable efforts by child-caring agencies which have been unable to rehabilitate the parent or parents.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25919" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25919" data-sentence-id="25927" class="ldml-sentence"&gt;&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt; In considering any of the factors in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25927"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;this section&lt;/span&gt;&lt;/span&gt; in terminating the parent-child legal relationship, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall give primary consideration to the physical, mental, and emotional conditions and needs of the child.&lt;/span&gt; &lt;span data-paragraph-id="25919" data-sentence-id="26168" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; shall review and order, if necessary, an evaluation of the child's physical, mental, and emotional conditions."&lt;/span&gt; &lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="26291" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26291" data-sentence-id="26299" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26299"&gt;&lt;span class="ldml-cite"&gt;section 105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a treatment plan must be approved by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; prior to any termination of parental rights.&lt;/span&gt; &lt;span data-paragraph-id="26291" data-sentence-id="26416" class="ldml-sentence"&gt;Further, the language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26416"&gt;&lt;span class="ldml-cite"&gt;section 105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; clearly contemplates that a plan, although complied with, may not be successful.&lt;/span&gt; &lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="26544" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26544" data-sentence-id="26552" class="ldml-sentence"&gt;The fact that an individual fulfills the tasks and duties enumerated in the treatment plan does not mean that the individual will be able to meet his responsibilities as a parent.&lt;/span&gt; &lt;span data-paragraph-id="26544" data-sentence-id="26732" class="ldml-sentence"&gt;In many &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, it would be impossible to devise a plan under which success could be guaranteed.&lt;/span&gt; &lt;span data-paragraph-id="26544" data-sentence-id="26828" class="ldml-sentence"&gt;Successful completion necessarily requires that the quality of the parent's participation be evaluated.&lt;/span&gt; &lt;span data-paragraph-id="26544" data-sentence-id="26932" class="ldml-sentence"&gt;Further, an assessment of the parent's underlying abilities would have to be made.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27015" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27023" class="ldml-sentence"&gt;Implicit in the legislative scheme is the fact that the standards to be applied in determining the ultimate success or failure of a treatment plan are those found in the Children's Code itself.&lt;/span&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27217" class="ldml-sentence"&gt;The plan, as an attempt to aid the parent, can only be judged to be successful if it results in rendering the parent fit or it corrects the conduct or condition which led to intervention by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; into the parent-child relationship.&lt;/span&gt; &lt;span data-paragraph-id="27015" data-sentence-id="27453" class="ldml-sentence"&gt;Accordingly, no explicit criteria to determine success need be included in the treatment plan itself.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="IV.
" data-specifier="IV" data-ordinal_start="4" data-parsed="true" data-value="IV." data-ordinal_end="4" data-format="upper_case_roman_numeral" data-id="heading_27555" id="heading_27555"&gt;&lt;span data-paragraph-id="27555" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27555" data-sentence-id="27555" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="27559" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27559" data-sentence-id="27567" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt;, in reversing the judgment of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, concluded
&lt;span class="ldml-pagenumber" data-val="612" data-vol="652" data-rep="P.2d" data-id="pagenumber_27647" data-page_type="labeled_number"&gt;&lt;/span&gt;
that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had not sustained their burden of proof with regard to the continuing nature of K.D.K.'s mental deficiency.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27772" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27772" data-sentence-id="27780" class="ldml-sentence"&gt;A careful examination of the record, including the testimony and exhibits received at the &lt;span class="ldml-entity"&gt;November 1978&lt;/span&gt; placement hearing and the &lt;span class="ldml-entity"&gt;June 1979&lt;/span&gt; termination hearing, discloses substantial evidence to support the findings of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; that K.D.K.'s mental deficiency was of such duration and nature as to render her unlikely, within a reasonable time, to provide reasonable care for the child.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28174" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28174" data-sentence-id="28182" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;May 1978&lt;/span&gt;, subsequent to the filing of the &lt;span class="ldml-entity"&gt;petition for termination&lt;/span&gt; and pursuant to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; order&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Gladys Wolff&lt;/span&gt;, a staff psychologist at the Center for Therapeutic Learning, examined K.D.K. and testified at the &lt;span class="ldml-entity"&gt;November 1978&lt;/span&gt; hearing.&lt;/span&gt; &lt;span data-paragraph-id="28174" data-sentence-id="28416" class="ldml-sentence"&gt;Her examination revealed that K.D.K. had a full scale I.Q. of 74, which placed her around the 4th or 5th percentile on age norms and in the borderline deficient range of intelligence.&lt;/span&gt; &lt;span data-paragraph-id="28174" data-sentence-id="28600" class="ldml-sentence"&gt;Further, K.D.K. was a grossly immature, unresourceful adult who displayed extreme passivity and dependence on others.&lt;/span&gt; &lt;span data-paragraph-id="28174" data-sentence-id="28718" class="ldml-sentence"&gt;The report concluded by noting that K.D.K. had borderline deficient intellectual skills; &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had minimal ability to profit from experience and therefore integrate old and new learnings and observations into a logical sequence of events; if given custody of C.A.K., &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would require frequent monitoring and observation; and, that as C.A.K. progressed into adolescence, K.D.K. would lack the judgment and maturity to plan, communicate, and apply consequences and restrictions in a developmentally meaningful way.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29233" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29233" data-sentence-id="29241" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Rachael Moriarity&lt;/span&gt;, a pediatric psychologist for the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Center&lt;/span&gt;, was a witness for &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; at the &lt;span class="ldml-entity"&gt;June 1979&lt;/span&gt; termination hearing.&lt;/span&gt; &lt;span data-paragraph-id="29233" data-sentence-id="29397" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had worked with C.A.K. for two years.&lt;/span&gt; &lt;span data-paragraph-id="29233" data-sentence-id="29458" class="ldml-sentence"&gt;During that time, although K.D.K. was being assisted by the LCDSS and taking parenting classes at the mental health center, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had observed little change in the parenting skills of K.D.K.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29647" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29647" data-sentence-id="29655" class="ldml-sentence"&gt;Moriarity also observed the interaction between &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; and child when C.A.K. visited her &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; on two occasions in January and &lt;span class="ldml-entity"&gt;March 1979&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29647" data-sentence-id="29795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; was of the opinion that K.D.K.'s condition had not and would not change within a reasonable period of time, and C.A.K. would suffer mental and behavioral deterioration if returned to the care of K.D.K.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30001" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30001" data-sentence-id="30009" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Patricia Adams&lt;/span&gt;, a caseworker for the LCDSS who had worked with K.D.K. and had observed &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; and child during the January and &lt;span class="ldml-entity"&gt;March 1979&lt;/span&gt; visits, also testified for &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30001" data-sentence-id="30186" class="ldml-sentence"&gt;Her testimony, which reflected her own experience with K.D.K. and the efforts of the LCDSS for approximately six years, was supportive of &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s position that K.D.K.'s condition was chronic and unlikely to change within a reasonable time.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30431" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30431" data-sentence-id="30439" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Dr. John Black&lt;/span&gt;, a clinical psychologist, testified on behalf of K.D.K.&lt;/span&gt; &lt;span data-paragraph-id="30431" data-sentence-id="30510" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; first saw K.D.K. in &lt;span class="ldml-entity"&gt;October 1978&lt;/span&gt; and approximately every two weeks thereafter.&lt;/span&gt; &lt;span data-paragraph-id="30431" data-sentence-id="30592" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; agreed with the numerical results of the test performed by &lt;span class="ldml-entity"&gt;Gladys Wolff&lt;/span&gt; in &lt;span class="ldml-entity"&gt;May 1978&lt;/span&gt; and was of the opinion that K.D.K. had a learning disability and was mildly retarded.&lt;/span&gt; &lt;span data-paragraph-id="30431" data-sentence-id="30765" class="ldml-sentence"&gt;Although Dr. Black felt that the testing was accurate, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was of the opinion that the conclusions included some cultural bias and that K.D.K.'s mental deficiency would not prevent her from parenting a child.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30973" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30973" data-sentence-id="30981" class="ldml-sentence"&gt;Dr. Black recognized that K.D.K. could not be an adequate parent without a great deal of community help.&lt;/span&gt; &lt;span data-paragraph-id="30973" data-sentence-id="31086" class="ldml-sentence"&gt;This assistance would include a homemaker, a caseworker, a medical doctor, and frequent contacts by K.D.K. with a clinical psychologist.&lt;/span&gt; &lt;span data-paragraph-id="30973" data-sentence-id="31223" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; further agreed, in response to a question from &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, that both K.D.K. and the LCDSS would be doing the parenting of C.A.K. and K.D.K. would need continual guidance and support for parenting purposes.&lt;/span&gt; &lt;span data-paragraph-id="30973" data-sentence-id="31431" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also stated that if K.D.K. were given custody of C.A.K., foster parent care could not be ruled out in the future.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31548" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31548" data-sentence-id="31556" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Delores Hopkins&lt;/span&gt;, a psychiatric nurse employed by the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Center&lt;/span&gt;, was also called as a witness by K.D.K.&lt;/span&gt; &lt;span data-paragraph-id="31548" data-sentence-id="31685" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; testified that K.D.K. had attended &lt;span class="ldml-entity"&gt;a mother&lt;/span&gt;'s self-concept group from July through &lt;span class="ldml-entity"&gt;December 1978&lt;/span&gt; and was
&lt;span class="ldml-pagenumber" data-val="613" data-vol="652" data-rep="P.2d" data-id="pagenumber_31796" data-page_type="labeled_number"&gt;&lt;/span&gt;
able to understand the principles and problems discussed in the group sessions and gave signs of growth and learning.&lt;/span&gt; &lt;span data-paragraph-id="31548" data-sentence-id="31915" class="ldml-sentence"&gt;Hopkins had never seen C.A.K. and K.D.K. together and could not give an opinion of K.D.K.'s parenting ability.&lt;/span&gt; &lt;span data-paragraph-id="31548" data-sentence-id="32026" class="ldml-sentence"&gt;In response to an inquiry from &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, Hopkins stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had not talked to K.D.K. between &lt;span class="ldml-entity"&gt;December 1978&lt;/span&gt; and the termination hearing in &lt;span class="ldml-entity"&gt;June 1979&lt;/span&gt; and had no way of knowing whether K.D.K. had retained, or was capable of applying, the information &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had been exposed to in the parenting group sessions.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32336" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32336" data-sentence-id="32344" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; heard substantial, though in part conflicting, evidence concerning K.D.K.'s mental deficiency and whether that deficiency was of such duration and nature as to render her unlikely, with a reasonable time, to care for the physical, mental, and emotional needs of C.A.K.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32629" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32629" data-sentence-id="32637" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have often stated that the credibility of witnesses, the sufficiency, probative effect and weight of the evidence, and the inferences and conclusions to be drawn therefrom are all within the province of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, whose conclusions will not be disturbed on review unless so clearly erroneous as to find no support in the record.&lt;/span&gt; &lt;span data-paragraph-id="32629" data-sentence-id="32975" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889198018" data-vids="889198018" class="ldml-reference" data-prop-ids="sentence_32637"&gt;&lt;span class="ldml-refname"&gt;Gebhardt v. Gebhardt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;198 Colo. 28&lt;/span&gt;, &lt;span class="ldml-cite"&gt;595 P.2d 1048&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892223474" data-vids="892223474" class="ldml-reference" data-prop-ids="sentence_32637"&gt;&lt;span class="ldml-refname"&gt;Adler v. Adler&lt;/span&gt;, &lt;span class="ldml-cite"&gt;167 Colo. 145&lt;/span&gt;, &lt;span class="ldml-cite"&gt;445 P.2d 906&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32629" data-sentence-id="33085" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find no such error here.&lt;/span&gt; &lt;span data-paragraph-id="32629" data-sentence-id="33113" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s findings and conclusions are amply supported by the record.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33191" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33191" data-sentence-id="33199" class="ldml-sentence"&gt;The judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; is reversed.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="33249" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="33249" data-sentence-id="33250" class="ldml-sentence"&gt;The report of the &lt;span class="ldml-entity"&gt;Larimer County Department of Social Services&lt;/span&gt;, dated &lt;span class="ldml-entity"&gt;February 3, 1978&lt;/span&gt;, recited in detail the background and circumstances of K.D.K. and C.A.K.&lt;/span&gt; &lt;span data-paragraph-id="33249" data-sentence-id="33410" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Thompson School District R-2&lt;/span&gt; psychologist's report noted that C.A.K. was repeating kindergarten, her academic adjustment seemed to be affected significantly by emotional problems, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; lacked confidence, and had a short attention span.&lt;/span&gt; &lt;span data-paragraph-id="33249" data-sentence-id="33649" class="ldml-sentence"&gt;It recommended a special program for C.A.K. including speech and language, visual motor skills, and continued therapy at the &lt;span class="ldml-entity"&gt;Larimer County Mental Health Center&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="33810" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="33810" data-sentence-id="33811" class="ldml-sentence"&gt;The treatment plan required K.D.K. to:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33849" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33849" data-sentence-id="33849" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; Attend and successfully complete a parenting class;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33904" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33904" data-sentence-id="33904" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; Attend and cooperate with her training program at Foothills Gateway;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33976" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33976" data-sentence-id="33976" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; Maintain adequate housing; and&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34011" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34011" data-sentence-id="34011" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; Take the initiative in arranging visitation with C.A.K.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="34070" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="34070" data-sentence-id="34071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 19-1-103&lt;span class="ldml-parenthetical"&gt;(20)&lt;/span&gt;, C.R.S.1973 &lt;span class="ldml-parenthetical"&gt;(1978 Repl.Vol. 8 &amp; 1981 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, defines neglected or dependent child as a child:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34185" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34185" data-sentence-id="34185" class="ldml-sentence"&gt;"&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; Whose parent, guardian, or legal custodian has abandoned him or has subjected him to mistreatment or abuse or whose parent, guardian, or legal custodian has suffered or allowed another to mistreat or abuse the child without taking lawful means to stop such mistreatment or abuse and prevent it from recurring;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34499" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34499" data-sentence-id="34499" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; Who lacks proper parental care through the actions or omissions of the parent, guardian, or legal custodian;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34611" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34611" data-sentence-id="34611" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; Whose environment is injurious to his welfare;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34661" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34661" data-sentence-id="34661" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; Whose parent, guardian, or legal custodian fails or refuses to provide proper or necessary subsistence, education, medical care, or any other care necessary for his health, guidance, or well-being;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34862" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34862" data-sentence-id="34862" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt; Who is homeless, without proper care, or not domiciled with his parent, guardian, or legal custodial through no fault of such parent, guardian, or legal custodian;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35029" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35029" data-sentence-id="35029" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(f)&lt;/span&gt; Who has run away from home, or is otherwise beyond the control of his parent, guardian, or legal custodian."&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35141" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="35141" data-sentence-id="35142" class="ldml-sentence"&gt;The purpose of the General Assembly in enacting the Children's Code is expressed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 19-1-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.1973 &lt;span class="ldml-parenthetical"&gt;(1978 Repl.Vol. 8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as follows:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35288" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35288" data-sentence-id="35288" class="ldml-sentence"&gt;"&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; To secure for each child subject to these provisions such care and guidance, preferably in his own home, as will best serve his welfare and the interests of society;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35458" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35458" data-sentence-id="35458" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; To preserve and strengthen family ties whenever possible, including improvement of home environment;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35562" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35562" data-sentence-id="35562" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; To remove a child from the custody of his parents only when his welfare and safety or the protection of the public would otherwise be endangered; and&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35716" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35716" data-sentence-id="35716" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; To secure for any child removed from the custody of his parents the necessary care, guidance, and discipline to assist him in becoming a responsible and productive member of society."&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="35903" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="35903" data-sentence-id="35904" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 19-11-105&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;, C.R.S.1973&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, was amended in &lt;span class="ldml-entity"&gt;1981&lt;/span&gt; by substituting the words &lt;span class="ldml-quotation quote"&gt;"controlled substances"&lt;/span&gt; for &lt;span class="ldml-quotation quote"&gt;"narcotic or dangerous drugs."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="36045" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="36045" data-sentence-id="36046" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26416"&gt;&lt;span class="ldml-refname"&gt;Note, Delineating the Reasonable Progress Ground as a Basis for Termination of Parental Rights, 28 De Paul&lt;/span&gt; &lt;span class="ldml-cite"&gt;L.Rev. 819&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;